Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 1 of 29 PageID# 1234




                   Exhibit F
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 2 of 29 PageID# 1235
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 3 of 29 PageID# 1236
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 4 of 29 PageID# 1237
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 5 of 29 PageID# 1238
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 6 of 29 PageID# 1239
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 7 of 29 PageID# 1240
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 8 of 29 PageID# 1241
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 9 of 29 PageID# 1242
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 10 of 29 PageID# 1243
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 11 of 29 PageID# 1244
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 12 of 29 PageID# 1245
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 13 of 29 PageID# 1246
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 14 of 29 PageID# 1247
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 15 of 29 PageID# 1248
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 16 of 29 PageID# 1249
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 17 of 29 PageID# 1250
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 18 of 29 PageID# 1251
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 19 of 29 PageID# 1252
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 20 of 29 PageID# 1253
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 21 of 29 PageID# 1254
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 22 of 29 PageID# 1255
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 23 of 29 PageID# 1256
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 24 of 29 PageID# 1257
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 25 of 29 PageID# 1258
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 26 of 29 PageID# 1259
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 27 of 29 PageID# 1260
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 28 of 29 PageID# 1261
Case 1:24-cv-01778-PTG-WBP Document 100-6 Filed 10/23/24 Page 29 of 29 PageID# 1262
